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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


In rc                                              Chapter 11
                                                   Case No. 01-01139 JKF
W.R. Grace & Co., et al.                           (Jointly Administered)

               Debtors.


                      DECLARATION OF JEFFREY M. BOERGER

        I, Jeffrey M. Boerger, do hereby declare as follows:

        1.     I am an attorney associated with the law firm of Drinker Biddle & Reath LLP,

with offices at One Logan Square, 18t~’ & Cherry Streets, Philadelphia, Pennsylvania 19103.

        2.     I am a member in good standing of the bars of the State of Illinois, the

Commonwealth of Pemasylvania, and the State of New Jersey. I have been admitted to practice

pro hac vice before this Court in the instant matter.

        3.     I represent OneBeacon America Insurance Company ("OneBeacon") and Seaton

Insurance Company ("Seaton") in this matter.

        4.     I make this declaration in support of the Phase II Trial Brief of Creditors

OneBeacon America Insurance Company and Seaton Insurance Company in Opposition to

Confirmation of Amended Joint Plan of Reorganization ("Trial Brief’), as well as to put certain

information and documents before the Court that are pertinent to the Trial Brief.

        5.     Attached as Exhibit 1 is a tree and correct copy of excerpts from the Deposition

of Jeffrey Posner, taken and transcribed on May 6, 2009, including certain exhibits thereto.

        6.     Attached as Exhibit 2 is a true and correct copy of the Original Complaint filed on

or about March 18, 2002, in an adversary proceeding before this Court entitled Official

Committee of Asbestos Personal Injury Claimants and Official Committee of Asbestos Property
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Damage Claimants of PER. Grace & Co v. Fresenius Medical Care Holdings, Inc. and National

Medical Care, Inc., Adv. No. 02-2011 (the "Fresenius Adversary Proceeding"). This document

was downloaded from the bankruptcy court’s public electronic case filing system.

      7.      Attached as Exhibit 3 is a true and correct copy of the Answer to Original

Complaint filed by Fresenius Medical Care Holdings, Inc. and National Medical Care, Inc. filed

on April 1, 2002 in the Fresenius Adversary Proceeding. This document was downloaded from

the bankruptcy court’s public electronic case filing system.

      8.      Attached as Exhibit 4 is a true and correct copy of excerpts from the Form S-4

Registration Statement filed with the United States Securities and Exchange Commission by

W.R. Grace & Co. (to be renamed Fresenius National Medical Care, Inc.) (EIN XX-XXXXXXX) on

August 2, 1996, SEC File No. 333-46281, and referenced in Plan Definition No. 124 (defining

"Fresenius Transaction"). This document is a public record, downloaded from the SEC’s

publicly available EDGAR database. The full text of this Form S-4 Registration Statement is

available at http://edgar.sec.gov/Archives/edgar/data/42872/OOOO950123-96-OO4024.txt.

      9.      Attached as Exhibit 5 is a true and correct copy of the Original Complaint filed on

or about March 18, 2002, in an adversary proceeding before this Court entitled Official

Committee of Asbestos Personal Injury Claimants and Official Committee of Asbestos Property

Damage Claimants of W.R. Grace & Co v. Sealed Air Corporation and Cryovac, Inc., Adv. No.

02-2010 (the "Sealed Air Adversary Proceeding"). This document was downloaded from the

bankruptcy court’s public electronic case filing system.

       10. Attached as Exhibit 6 is a true and correct copy of the Answer and Affirmative

Defenses of Defendants Sealed Air Corporation and Cryovac, Inc. to Plaintiffs’ Original




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Complaint, filed on or about April 1, 2002 in the Sealed Air Adversary Proceeding. This

document was downloaded from the bankruptcy court’s public electronic case filing system.

       11. Attached as Exhibit 7 is a true and correct copy of excerpts from the Form S-4

Registration Statement filed with the United States Securities and Exchange Commission by

W.R. Grace & Co. (to be renamed Sealed Air Corporation) (E1N XX-XXXXXXX) on February 13,

1998, SEC File No. 333-46281, and referenced in Plan Definition No. 92 (defining "Cryovac

Transaction"). This document is a public record, downloaded from the SEC’s publicly available

EDGAR database. The full text of this Form S-4 Registration Statement is available at

http://edgar.sec.gov/Archives/edgar/data/1012100/0000950103-98-000147.txt.

       12. Attached as Exhibit 8 is a true and correct copy of the Order Disallowing and

Expunging Certain of the Claims of Seaton Insurance Company and OneBeacon America

Insurance Company, dated May 3, 2007 and entered in this bankruptcy case (the "POC Order,"

also available at D.I. 15503), including all exhibits thereto. Exhibit "A" to the POC Order is a

true and correct copy of Proof of Claim No. 15531, filed by Seaton Insurance Company, and the

related Stipulation and Order Regarding Proofs of Claim of Seaton Insurance Company (also

available at D.I. 9519). Exhibit "B" to the POC Order is a true and correct copy of Proof of

Claim No. 15593, filed by OneBeacon America Insurance Company, and the related Stipulation

and Order Regarding Proofs of Claim of OneBeacon America Insurance Company (also

available at D.I. 9518). These documents were downloaded from the bankruptcy court’s public

electronic case filing system.

       13. Attached as Exhibit 9 is a lxue and correct copy of the Complaint for Declaratory

and Other Relief, including all exhibits thereto, filed on or about September 2, 2004 in an

adversary proceeding before this Court entitled The Scotts Company v. American Employers’




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Insurance Company, et aL, Adv. No. 04-55083-JKF (the "Scotts Adversary Proceeding"). This

document was downloaded from the bankruptcy court’s public electronic case filing system.

       14. Attached as Exhibit 10 is a true and correct copy of the Class 6 Asbestos PI

Claims (Indirect PI Trust Claims) Ballot provided to OneBeacon in connection with the

solicitation and tabulation of votes to accept or reject the First Amended Joint Plan of

Reorganization Under Chapter 1 of the Bankruptcy Code of W.R. Grace & Co., et al., the

Official Committee of Asbestos Personal Injury Claimants, the Asbestos PI Future Claimants’

Representative, and the Official Committee of Equity Security Holders Dated February 27, 2009

(the "Plan").

       15. Attached as Exhibit 11 is a true and correct copy of the Class 6 Asbestos PI

Claims (Indirect PI Trust Claims) Ballot provided to Seaton in connection with the solicitation

and tabulation of votes to accept or reject the Plan.

       16. Attached as Exhibit 12 is a true and correct copy of the Class 9 General

Unsecured Claims Ballot provided to OneBeacon in connection with the solicitation and

tabulation of votes to accept or reject the Plan.

       17. Attached as Exhibit 13 is a true and correct copy of Proof of Claim No. 8112,

filed by Fresenius Medical Care Holdings, Inc. This document was obtained by request from

Rust Consulting, Inc., the designated claims processing agent for this bankruptcy case.

       18. Attached as Exhibit 14 is a true and correct copy of Proof of Claim No. 14339,

filed by Sealed Air Corporation. This document was obtained by request from Rust Consulting,

Inc., the designated claims processing agent for this bankruptcy case.

       19. Attached as Exhibit 15 is a true and correct copy of excerpts from the Deposition

of Richard Finke, taken and transcribed on May 13, 2009, including certain exhibits thereto.




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       20. Attached as Exhibit 16 is a true and correct copy of excerpts from the Deposition

of David T. Austere, taken and transcribed on May 15, 2009.

       21. Attached as Exhibit 17 is a true and correct copy of excerpts from the Deposition

of Peter Van N. Lockwood, taken and transcribed on May 1 and 4, 2009.

       22. Attached as Exhibit 18 is a true and correct copy of the Objections and Responses

of the Official Committee of Asbestos Personal Injury Claimants to Discovery Propounded By

Government Employees Insurance Company and Columbia Insurance Company, served on or

about March 6, 2009.

       23. Attached as Exhibit 19 is a true and correct copy of the Expert Report of James B.

Shein, dated March 16, 2009 (also available at Dkt. No. 21020).

       24. Attached as Exhibit 20 is a true and correct copy of the Memorandum Order

signed and entered on or about December 7, 2005 in a bankruptcy appeal before the United

States District Court for the Western District of Pennsylvania entitled In re Pittsburgh Corning

Corporation, Case No. 2:04-cv-1199-DSC. This document was downloaded from the district

court’s public electronic case filing system.

       25. Attached as Exhibit 21 is a true and correct copy of excerpts from the

Congressional Record, 140 Cong. Rec. H10752, H10765 (daily ed. Oct. 4, 1994), available at

1994 WL 545773.

       26. Attached as Exhibit 22 is.a true and correct copy of excerpts from the

Congressional Record, 140 Cong. Rec. $4521, $4523 (dally ed. Apr. 20, 1994), available at

1994 WL 139961.




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       27. Attached as Exhibit 23 is a tree and correct copy of excerpts from the

Congressional Record, 140 Cong. Rec. S14461, S14464 (daily ed. Oct 6, 1994), available at

1994 WL 553390.



       I, Jeffrey M. Boerger, do hereby declare under penalty of perjury that the foregoing is

true and correct. Executed on July 13, 2009 at Philadelphia, Pennsylvania.




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